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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA,
                         MISSOULA DIVISION

 MONTANA MEDICAL ASSOCIATION, ET. AL.,             No. CV-21-108-M-DWM

                     Plaintiffs,
                                                   DEFENDANTS’ MOTION IN
 and                                               LIMINE TO EXCLUDE
                                                   FURTHER TESTIMONY OR
 MONTANA NURSES ASSOCIATION,                       EVIDENCE ON SUBJECTS
                                                   RELATED TO PLAINTIFFS
                Plaintiff-Intervenors,             INVOCATION OF THE
                                                   FIFTH AMENDMENT
       v.

 AUSTIN KNUDSEN, ET AL.,

             Defendants.



DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE FURTHER TESTIMONY OR EVIDENCE ON SUBJECTS
RELATED TO PLAINTIFFS INVOCATION OF THE FIFTH AMENDMENT | 1
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      Defendants move the Court in limine to exclude any testimony or

evidence related to the issues leading to invocation of the privilege and

draw all proper adverse inferences based on the invocation of the

privilege.

      This motion is supported by the accompanying brief and the

Foundational Declaration of Brent Mead and that declaration’s exhibits

11–13.

      Counsel for Plaintiffs were contacted but provided no position on

this motion for want of additional information. Defendants assume they

will oppose. Plaintiff-Intervenor was likewise contacted and they oppose

this motion.

      DATED this 2nd day of September, 2022.

                                       Austin Knudsen
                                       Montana Attorney General

                                       DAVID M.S. DEWHIRST
                                        Solicitor General




DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE FURTHER TESTIMONY OR EVIDENCE ON SUBJECTS
RELATED TO PLAINTIFFS INVOCATION OF THE FIFTH AMENDMENT | 2
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                                       /s/Brent Mead
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DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE FURTHER TESTIMONY OR EVIDENCE ON SUBJECTS
RELATED TO PLAINTIFFS INVOCATION OF THE FIFTH AMENDMENT | 3
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                           CERTIFICATE OF SERVICE

      I certify that on this date, an accurate copy of the foregoing

document was served electronically through the Court’s CM/ECF

system on registered counsel.

Dated: September 2, 2022                            /s/ Brent Mead
                                                    BRENT MEAD




DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE FURTHER TESTIMONY OR EVIDENCE ON SUBJECTS
RELATED TO PLAINTIFFS INVOCATION OF THE FIFTH AMENDMENT | 4
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DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE FURTHER TESTIMONY OR EVIDENCE ON SUBJECTS
RELATED TO PLAINTIFFS INVOCATION OF THE FIFTH AMENDMENT | 5
